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AO 245B       (Rev. 09/08) Judgment in a Criminal Case
              Sheet I



                                         UNITED STATES DISTRICT COURT
                                                             Middle District of Alabama

              UNITED STATES OF AMERICA                                               JUDGMENT IN A CRIMINAL CASE
                                  V.

                SAM MARLON ALVAREZ                                                    Case Number:              2:08cr121-WHA-06
                     a/k/a "Lou"                                                      USM Number:               29 147-280

                                                                                     -                   Ronald P. Guyer          -
                                                                                      Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)        1 and 47-52 of the Indictment on October 9, 2008
D pleaded nob contendere to count(s)                     ______         ____________
   which was accepted by the court.
Ewas found guilty on count(s) __________                      _________
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                                Offense Ended           Count
21:846                           Conspiracy to distribute controlled substances                                       5/08                 1
2 1:843(b)                       Use of communication facility in committing, causing and                             5/08                 47
                                  facilitating the conspiracy to possess with intent to distribute and
                                  distribution of controlled substances


       The defendant is sentenced as provided in pages 2 through                    7 -- of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
LI The defendant has been found not guilty on count(s)                                                         ______
LI Count(s)       ______                                  LI is      LI are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                             ________                          November 17, 2009       _______
                                                                              Date of Imposition of Judgment




                                                                             W. Harold Albritton,                  S. District Ju4gç
                                                                             Name and Title of Judge
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                                                                                                          Judgment—Page   2     of    7
 DEFENDANT:                 SAM MARLON ALVAREZ
 CASE NUMBER:               2:08cr121-WHA-06

                                           ADDITIONAL COUNTS OF CONVICTION
Title & Section                  Nature of Offense                                                    Offense Ended           Count
2 1:843(b)                       Use of communication facility in committing, causing and                4/25/08               48
                                   facilitating conspiracy to possess with intent to distribute and
                                   distribution of controlled substances
2 1:843(b)                       Use of communication facility in committing, causing and                 4/25/08               49
                                   facilitating conspiracy to possess with intent to distribute and
                                  distribution of controlled substances
21:843(b)                        Use of communication facility in committing, causing and                 4/26/08               50
                                  facilitating conspiracy to possess with intent to distribute and
                                  distribution of controlled substances
21:843(b)                        Use of communication facility in committing, causing and                 4/29/08               51
                                  facilitating conspiracy to possess with intent to distribute and
                                  distribution of controlled substances
21:843(b)                        Use of communication facility in committing, causing and                 4/30/08               52
                                  facilitating conspiracy to possess with intent to distribute and
                                  distribution of controlled substances
                    Case 2:08-cr-00121-RAH-CWB Document 669 Filed 11/18/09 Page 3 of 7
A0 245B     (Rev. 09/08) Judgment in Criminal Case
            Sheet 2 - Imprisonment

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DEFENDANT:                     SAM MARLON ALVAREZ
CASE NUMBER:                   2:08cr121-06



                                                             IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

110 months. This sentence consists of 110 months on Count 1 and 48 months on Counts 47-52, all such terms to be served concurrently.



    X The court makes the following recommendations to the Bureau of Prisons:

          The court recommends that the Defendant be designated to a facility as close to San Antonio, Texas, as possible.




    X The defendant is remanded to the custody of the United States Marshal.

          The defendant shall surrender to the United States Marshal for this district:
          Elat               ______                  El a.m. El p.m. on

          El as notified by the United States Marshal.

    El The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          El before 2 p.m. on

          El as notified by the United States Marshal.

          El as notified by the Probation or Pretrial Services Office.


                                                                   RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                          to

a                                                      with a certified copy of this judgment.



                                                                                                    UNITED STATES MARSHAL


                                                                           By____ ____ ____ ____ ____
                                                                                                 DEPUTY UNITED STATES MARSHAL
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AO 245B      (Rev. 09/08) Judgment in a Criminal Case
             Sheet 3 - Supervised Release
                                                                                                           Judgment—Page      4     of         7___
DEFENDANT:                    SAM MARLON ALVAREZ
CASE NUMBER:                  2:08cr121-WHA-06
                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
five (5) years. This term consists of five years on Count 1 and one year on Counts 47-52, all such terms to runconcurrently.

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of re lease from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
Li The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
     future substance abuse. (Check, f applicable.)
X The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, f applicable.)
X The defendant shall cooperate in the collection of DNA. (Check, f applicable.)

     The defendant shall comply with the reQuirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901,et seq.)
E as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
     works, is a student, or was convicted of a qualifying offense. (Check, fapplicab1e.)

D The defendant shall participate in an approved program for domestic violence. (Check, f applicable.)
        If this judgment imposes afine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
  1) the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report withinthe first five days of
          each month;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)   the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
       controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)   the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)   the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
       felony, unless granted permission to do so by the probation officer;
 10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
       contraband observed in plain view of the probation officer;
 11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
       permission of the court; and

 13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
       record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
       defendant s compliance with such notification requirement.
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A0 245B   (Rev. 09/08) Judgment in a Criminal Case
          Sheet 3C - Supervised Release
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DEFENDANT:                SAM MARLON ALVAREZ
CASE NUMBER:              2:08cr121-WFIA-06

                                        SPECIAL CONDITIONS OF SUPERVISION
Defendant shall participate in a program approved by the United States Probation Office for substance abuse, which may
include testing to determine whether Defendant has reverted to the use of drugs. Defendant shall contribute to the cost of any
treatment based on ability to pay and the availability of third-party payments.

Defendant shall submit to a search of his person, residence, office or vehicle pursuant to the search policy of this court.
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AO 24513   (Rev. 09/08) Judgment in a Criminal Case
           Sheet 5 - Criminal Monetary Penalties
                                                                                                     Judgment—Page       6       of
 DEFENDANT:                        SAM MARLON ALVAREZ
 CASE NUMBER:                      2:08cr121-WHA-06
                                               CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                         Fine                              Restitution
 TOTALS            $ 700.00                                           $ -0-                              $ -0-


 U The determination of restitution is deferred until _____. An Amended Judgment in a Criminal Case (AO 245C) will be entered
    after such determination.

 U The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximatelyproportioned payment, unless specifiedotherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                                 Total Loss*                       Restitution Ordered                  Priority or Percenta2e




 TOTALS                              $                 ____                  $


 U Restitution amount ordered pursuant to plea agreement $

 U The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 36 12(g).

 U The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       U the interest requirement is waived for the            U fine U restitution.
       U the interest requirement for the             U fine     U restitution is modified as follows:



 * Findings for the total amount of losses are required under Chapters 1 09A, 110, 11 OA, and 11 3A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
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AO 245B     (Rev. 09/08) Judgment in a Criminal Case
            Sheet 6 - Schedule of Payments

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 DEFENDANT:                  SAM MARLON ALVAREZ
 CASE NUMBER:                2:08cr121-WHA-06


                                                       SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:
 A X Lump sum payment of $ 700.00 -_____ due immediately, balance due

            Linot later than --________ _______________ ,or
            x in accordance         0 C,        D,            0
                                                          E, or X F below; or
 B fl Payment to begin immediately (may be combined with fl C,                          J D, or       J F below); or
 C    LI Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                ______       over a period of
                      (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or
 0         Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                        (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E         Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or
F     x Special instructions regarding the payment of criminal monetary penalties:
                     Payment shall be made to the Clerk, U. S. District Court, P. 0. Box 711, Montgomery, AL 36101.




Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



Li Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




Li The defendant shall pay the cost of prosecution.

Li The defendant shall pay the following court cost(s):

LI The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) communIty restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
